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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                                              Case No. 1:22-cv-20955-DPG
  In re Lakeview Loan Servicing Data Breach
  Litigation                                  Oral Argument Requested


    DEFENDANTS’ REPLY IN SUPPORT OF MOTION TO DISMISS CONSOLIDATED
                        CLASS ACTION COMPLAINT
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  I.       REPLY TO STANDING ARGUMENTS.
           Plaintiffs assert several theories of “injury” that they claim substitute for allegations of
  identity theft, fraud, or other actual misuse of their personally identifiable information (“PII”).
  None of these alleged injuries satisfy Article III’s injury requirement.
           Diminution in Value. Plaintiffs rely on out-of-circuit cases to argue injury based on lost
  value of their PII (Opp.1 at 5), but courts in this Circuit reject the diminution in value theory where,
  as here, Plaintiffs do not derive monetary value from their PII. Mem. at 6 (collecting cases).
           Emotional Distress. Plaintiffs argue generally that emotional distress can suffice as an
  injury (Opp. at 7), but Plaintiffs’ threadbare allegations are insufficient to state a plausible claim
  that any of them actually suffered emotional distress (Mem. at 3). Plaintiffs fail to cite any authority
  holding that merely uttering the phrase “emotional distress” in a complaint satisfies Article III.
           Dark Web. Plaintiffs fail to respond to the argument that certain Plaintiffs’ “dark web”
  allegations fail to establish injury in fact (id. at 3-4), so they concede these allegations do not confer
  standing. See Giuliani v. NCL (Bahamas) Ltd., 558 F. Supp. 3d 1230, 1244 (S.D. Fla. 2021).
           Mitigation Efforts. Alleged mitigation efforts do not confer standing because injury is not
  imminent. Mem. at 4. Plaintiffs argue injury is imminent because Defendants recommended that
  Plaintiffs review account statements and look for fraud (Opp. at 5), but these are commonsense
  steps any responsible person would take, regardless of the Incident. See In re Brinker Data Incident
  Litig., 2019 WL 3502993, at *6 (M.D. Fla. Aug. 1, 2019) (“Monitoring one’s accounts for
  fraudulent activity is something many individuals do, regardless of whether they have been
  informed their information is at risk”). Indeed, if Plaintiffs’ allegations that they protected their
  PII prior to the Incident are true (Compl. ¶¶ 480, 492, 504, 516, 527), they would already have
  been taking these actions. If untrue, and the Incident prompted Plaintiffs to protect their PII, that
  is not an injury. Moreover, Plaintiffs’ claim that injury is “imminent” is implausible because they
  do not allege they suffered fraud more than a year after the Incident occurred. Id. ¶ 4; Black’s Law
  Dictionary (defining “imminent” as “threatening to occur immediately,” “dangerously
  impending,” or “[a]bout to take place”); In re Zappos.com, Inc., 108 F. Supp. 3d 949, 958 (D. Nev.
  2015) (“The more time that passes without the alleged future harm actually occurring undermines
  any argument that the threat of that harm is [imminent].”).

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      “Memorandum” or “Mem.” refer to Dkt. 59 and “Opposition” or “Opp.” refer to Dkt. 71.


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         Spam Phone Calls. Plaintiffs’ “spam” allegations fail because they do not allege causation
  and causation cannot be inferred since contact information was not accessed. Mem. at 4. Plaintiffs
  argue causation can be inferred due to the “close temporal proximity between the [Incident]” and
  the “increase in spam” (Opp. at 7 n.3), but causation cannot be inferred from temporal sequence
  alone. See McClain v. Metabolife Int’l, Inc., 401 F.3d 1233, 1243 (11th Cir. 2005) (rejecting
  “fallacy” that “a temporal relationship proves a causal relationship”).
         Loss of Privacy. Thomas argues “invasion of privacy is ‘a harm that has traditionally been
  regarded as providing a basis for a lawsuit’” (Opp. at 7) but she does not (and cannot) state a claim
  for invasion of privacy because such a claim requires an intentional disclosure, which she does not
  allege. See Purrelli v. State Farm Fire & Cas. Co., 698 So. 2d 618, 620 (Fla. Dist. Ct. App. 1997).
  II.    REPLY TO ARGUMENTS REGARDING FAILURE TO STATE A CLAIM.
         A.      Negligence.
         Plaintiffs argue bodily injury or property damage is not required to state a claim for
  negligence. Opp. at 8-9. Not so. Florida law clearly requires “bodily injury or property damage.”
  See 38 Fla. Jur 2d Negligence § 32 (“bodily injury or property damage is an essential element [of]
  negligence”); Mem. at 5-6 (collecting cases).2
         Plaintiffs argue negligence per se claims can be predicated on statutes without a private
  right of action, but cite no authority supporting this assertion. Opp. at 9. They also contend that
  “Defendants’ argument is [] out of step with recent data breach cases” (id.), but Plaintiffs’
  authorities do not address Florida law, which does not permit negligence per se claims based on
  statutes that do not provide for a private right of action (Mem. at 6).
         Plaintiffs argue their “shotgun pleading” should be excused because Defendants were able
  to articulate defenses (Opp. at 9-10), but the Complaint “commingles multiple negligence and
  liability theories into a single claim” and fails to allege which Defendants are responsible for
  alleged acts and omissions, which is the essence of “shotgun pleading.” Mem. at 6.




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    Plaintiffs argue that some of the cases cited by Defendants should be disregarded because they
  address standing (Opp. at 8-9), but they are cited for the proposition that PII is not property (Mem.
  at 6), which Plaintiffs do not dispute. Plaintiffs also argue the Court should disregard the “bodily
  injury or property damage” requirement in a data breach case (Opp. at 9), but the requirement
  applies to all negligence claims. See 38 Fla. Jur 2d Negligence § 32; Mem. at 5–6.


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         B.      Breach of Implied Contract
         Plaintiffs argue they “furnished their PII in exchange for mortgage services” (Opp. at 10
  (citing Compl. ¶¶ 102-03, 123)), but the cited paragraphs do not support this statement. Rather,
  Plaintiffs allege they provided PII in a loan application. See Compl. ¶ 123 (admitting PII was
  provided to lenders). Thus, they provided PII before there was a loan to service, so their claim
  would be implausible even if alleged. Plaintiffs also argue Lakeview’s Privacy Policy constitutes
  a meeting of the minds because the policy “represented that Plaintiffs’ [PII] would be reasonably
  safeguarded” and “assured customers about the steps [Lakeview] takes to ‘protect [PII].” Opp. at
  10-11. However, these vague statements do not show a meeting of the minds and the terms are too
  indefinite. Mem. at 7. Moreover, the Privacy Policy even warns customers of the risk of
  “unauthorized access” and Plaintiffs’ acceptance of that risk, so if an implied contract was created,
  Plaintiffs accepted the risk of “unauthorized access” under that contract. Id. at 7-8. Lastly,
  Lakeview’s Privacy Policy cannot create an implied contract with the other Defendants.
         C.      Breach of Fiduciary Duty.
         Plaintiffs argue Florida law applies to their breach of fiduciary duty claims, but the case
  they cite rejects their contention that receipt of PII creates a fiduciary relationship. Opp. at 11-12
  & n.8 (citing In re Mednax Servs., Inc., Customer Data Sec. Breach Litig., 2022 WL 1468057, at
  *28 (S.D. Fla. May 10, 2022) (“[M]ere receipt of confidential information is insufficient by itself
  to [create] a fiduciary relationship.”)). Thus, Plaintiffs’ claims fail under their own and other
  authorities. See Mem. at 8-9. Moreover, Plaintiffs’ argument that fiduciary duties “‘may be implied
  in law on the specific factual situation surrounding the transaction and the relationship of the
  parties” (Opp. at 12) is of no avail because courts have addressed the “factual situation” and
  “relationship” that exists here and found no fiduciary relationship. Mem. at 8-9 (collecting cases).
         D.      California’s Consumer Records Act (“CCRA”)
         In response to Defendants’ argument that “[Plaintiffs] do not allege any damages resulting
  from the alleged delay,” Plaintiffs argue they would have responded more quickly if made aware
  of the Incident earlier (Opp. at 14), but they do not point to any injury they would have avoided
  had they been notified earlier, so their argument fails (Mem. at 10-11).
         In response to Defendants’ argument that Plaintiffs do not satisfy the CCRA’s definition
  of “customer,” Plaintiffs argue that Defendants’ interpretation of “customer” has been rejected.
  Opp. at 13 (citing In re Experian Data Breach Litig., 2016 WL 7973595, at *9 (C.D. Cal. Dec. 29,



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  2016)). This is false. The Experian court merely said defendants there failed to cite authorities
  supporting their interpretation. 2016 WL 7973595, at *9. Here, Defendants provided ample
  authority, including authorities addressing the unambiguous definition of “customer.” Mem. at 10;
  see also In re: The Home Depot, Inc., Customer Data Sec. Breach Litig., 2016 WL 2897520, at *5
  (N.D. Ga. May 18, 2016); In re Waste Mgmt. Data Breach Litig., 2022 WL 561734, at *7
  (S.D.N.Y. Feb. 24, 2022). Plaintiffs also argue that Section 1798.82(a) is not limited to
  “customers” (Opp. at 13), but Section 1798.84(b) makes clear that only “customers” have standing
  under the CCRA. See Boorstein v. CBS Interactive, Inc., 222 Cal. App. 4th 456, 466–67 (2013).
         In response to Defendants’ argument that alleging failure to “maintain reasonable security
  procedures and practices” is too conclusory, Plaintiffs argue that “Defendants failed to encrypt
  Plaintiffs’ PII in violation of industry standards and neglected to delete information that
  Defendants no longer had reason to maintain.” Opp. at 13. However, these are precisely the kind
  of threadbare allegations courts routinely reject. Mem. at 10 (collecting cases).3
         Lastly, in response to Defendants’ argument that they are not subject to Section
  1798.82(b)’s immediate notification requirements, Plaintiffs argue this raises a factual dispute.
  Opp. at 14. However, since Plaintiffs allege that Defendants “maintain” PII (Mem. at 11), there is
  no factual dispute. Plaintiffs also argue that “section 1798.82(a) expressly requires a business that
  ‘licenses’ PII to disclose a security breach ‘in the most expedient time possible and without
  unreasonable delay.’” Opp. at 14. However, Plaintiffs alleged a violation of 1798.82(b), not (a)
  (Compl. ¶¶ 644-48), so this argument is irrelevant.
         E.      California’s Consumer Privacy Act (“CCPA”).
         In response to the argument that Plaintiffs do not allege Defendants are “businesses,”
  Plaintiffs selectively quote the definition by omitting the requirements in Section
  1798.140(c)(1)(A)–(C) and cite Karter v. Epiq Sys., Inc., 2021 WL 4353274, at *2 (C.D. Cal. July
  16, 2021). Opp. at 14-15. However, as Defendants and Karter explained, an entity must satisfy
  one of the requirements in Section 1798.140(c)(1)(A)–(C) to be a “business.” Mem. at 11; Karter,
  2021 WL 4353274, at *2 n.1.



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    In support of their consumer protection claims under Illinois, Florida, Maryland, Missouri,
  Indiana, Texas, Ohio, and Tennessee law, Plaintiffs incorporate the same argument addressed here.
  Opp. at 14 n.9. To avoid repetition, Defendants’ responses to those claims below incorporate their
  argument here.


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         Plaintiffs respond to the argument that they failed to provide notice by dismissing it as a
  “technical argument” (Opp. at 15), but the CCPA clearly requires notice. See Cal. Civ. Code §
  1798.150(b). Plaintiffs then argue they provided the requisite notice, but Plaintiffs were required
  to provide “30 days’ written notice identifying the specific provisions [that were] violated.” Mem.
  at 12 (citing Cal. Civ. Code § 1798.150(b) (emphasis added)). Plaintiffs’ letters generically
  reference “a violation of Civil Code §§ 1798.81.5 and 1798.150” (Dkts. 47-6 & 47-7), but these
  statutes contain numerous provisions and Plaintiffs failed to identify any “specific provisions.”
  Thus, Plaintiffs’ contention that Section 1798.81.5(b) could suffice is irrelevant because Plaintiffs
  did not cite subsection (b) in their letters. Their belated reference to Section 1798.81.5(b) merely
  underscores their failure to “identify[] the specific provisions” in their notices.
         Plaintiffs do not dispute that Keach and Saporta’s notice was untimely, but argue the
  Consolidated Complaint was filed after the notice, so the deficiency was cured. Opp. at 16.
  However, Plaintiffs’ authorities do not address the CCPA, which does not permit them to cure. See
  Cal. Civ. Code § 1798.150(b) (requiring notice “prior to initiating any action”). Keach and Saporta
  filed an action without giving the required notice (Opp. at 16), so their claims fail.
         Plaintiffs also argue that whether Defendants cured is a factual issue. (Id. However, the
  alleged failure to cure is based on an alleged failure to take three specific actions (Compl. ¶ 660)
  and none of those actions are required (Mem. at 12 & n.3), so there is no material fact dispute.
  Moreover, Plaintiffs’ argument that the Court must defer deciding whether there was a cure is
  nonsensical because it would require the parties to complete discovery—and perhaps even trial—
  before deciding whether Plaintiffs can pursue an action in the first place.
         In response to Defendants’ argument that Plaintiffs fail to allege damages, Plaintiffs do not
  dispute that Keach and Crenshaw fail to allege damages, but argue that Saporta’s alleged monthly
  $15 payment for a fraud alert raises a factual dispute. Opp. at 16. However, it is beyond dispute
  that fraud alerts are free, and courts may take judicial notice of facts that are “generally known” or
  “can be accurately and readily determined from sources whose accuracy cannot reasonably be
  questioned.” FED. R. EVID. 201; Mem. at 13 & n.4; https://consumer.ftc.gov/articles/what-know-
  about-credit-freezes-fraud-alerts (explaining that fraud alerts are “free”) (accessed Oct. 18, 2022).
         Lastly, injunctive relief is inappropriate because the Incident is unlikely to reoccur. Mem.
  at 13. Plaintiffs’ argument is merely that the Incident occurred, so it is likely to reoccur, but there
  is no basis for this assumption given the enhanced security measures now in place. See Dkt. 47-8.



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           F.     California’s Unfair Competition Law (“UCL”)
           In response to Defendants’ argument that Plaintiffs fail to allege “what ‘reasonable
  measures’ [Defendants] failed to use or how [Defendants] deviated from or otherwise failed to
  conform to any industry standard,” Plaintiffs argue their allegations of “inadequate security and
  unreasonable failure to safeguard [] PII are both detailed and plausible.” Opp. at 17. However, they
  fail to support this statement with citations to the Complaint and fail to identify measures
  Defendants failed to take or standards Defendants failed to follow in violation of the UCL. Id.
           In response to Defendants’ argument that Plaintiffs fail to allege which UCL section was
  violated and fail to allege supporting facts with “reasonable particularity,” Plaintiffs argue their
  claims are not subject to Rule 9(b). Id. However, “a UCL claim of any kind ‘must identify the
  particular section of the statute that was violated, and must describe with reasonable particularity
  the facts supporting the violation.’” See Baba v. Hewlett-Packard Co., 2010 WL 2486353, at *5–
  6 (N.D. Cal. June 16, 2010); Bros. v. Hewlett-Packard Co., 2006 WL 3093685, at *7 (N.D. Cal.
  Oct. 31, 2006); In re Brinker Data Incident Litig., 2020 WL 691848, at *16 (M.D. Fla. Jan. 27,
  2020).
           In response to Defendants’ argument that Plaintiffs fail to allege deception is likely,
  Plaintiffs argue they are only required to allege deception under the UCL’s fraud prong (Opp. at
  18). This is false. See People v. McKale, 25 Cal.3d 626, 635 (1979) (“What constitutes ‘unfair
  competition’ or ‘unfair or fraudulent business practice’ under any given set of circumstances is a
  question of fact ... the essential test being whether the public is likely to be deceived....”); Friedman
  v. AARP, Inc., 855 F. 3d 1047, 1055 (9th Cir. 2017) (“To state a claim under either prong, …
  plaintiff must show that members of the public are likely to be deceived by the practice.”).
           In response to Defendants’ argument that Plaintiffs are not entitled to restitution or
  injunctive relief, Plaintiffs argue that “‘indirect purchasers [can] seek restitution….’” Opp. at 18.
  However, Plaintiffs do not plausibly allege they provided money or property to Defendants (or
  anyone else) in exchange for loan servicing. Thus, Plaintiffs are not entitled to restitution because
  they did not lose money or property that was gained by Defendants. Mem. at 14. Plaintiffs also
  argue that injunctive relief is appropriate because “their personal information is still at risk and a
  data breach is sufficiently likely to recur[.]” Opp. at 18 (citing Compl. ¶¶ 841-82). However, most
  of the paragraphs cited by Plaintiffs are not in the Complaint and those that exist do not plausibly




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  allege reoccurrence is likely. They merely allege, in conclusory fashion, that “[t]he risk of another
  breach is real, immediate, and substantial.” Compl. ¶¶ 841-44.
         G.      Illinois Consumer Fraud Act (“ICFA”)
         In response to Defendants’ argument that Berg failed to comply with Rule 9(b), she argues
  that Rule 8(a) applies. Opp. at 18. However, she alleges deceptive conduct, so Rule 9(b) applies.
  See Compl. ¶¶ 677–80 (alleging “deceptive and unfair acts”); Vanzant v. Hill’s Pet Nutrition, Inc.,
  934 F.3d 730, 738 (7th Cir. 2019) (“If the claim rests on allegations of deceptive conduct, then
  Rule 9(b) applies….”).
         In response to Defendants’ argument that she is not a “consumer,” Berg relies on the
  “consumer nexus” test. Opp. at 19. However, the Court should reject this test because the Illinois
  Supreme Court made clear that only “consumers” have standing to pursue ICFA claims. See
  Steinberg v. Chicago Med. Sch., 371 N.E.2d 634, 638 (Ill. 1977) (explaining that the ICFA’s
  inapplicability to non-consumers “is patent from the title of the Act”); see also Prime Leasing, Inc.
  v. Kendig, 773 N.E.2d 84, 95–96 (Ill. App. 3d 2002) (“[Plaintiff] was not a consumer and, as such,
  cannot be granted relief under the [ICFA].”); Commonwealth Edison Co. v. Munizzo, 986 N.E.2d
  1238, 1248 (Ill. App. 3d 2013) (same).
         Even if the Court considers the “consumer nexus” test, Berg’s claims fail because she did
  not plead a “consumer nexus.” Compl. ¶¶ 673–85; Demarco v. CC Servs. Inc., 2017 IL App (1st)
  152933-U, ¶¶ 34–35 (“Because [plaintiff] failed to adequately allege the required consumer nexus,
  [her] Consumer Fraud Act claim was properly dismissed.”). Moreover, she cannot show that “[her]
  actions were akin to a consumer’s actions” or that the “requested relief would serve the interests
  of consumers.” See Brody v. Finch Univ. of Health Scis./The Chicago Med. Sch., 698 N.E.2d 257,
  269–70 (Ill. App. 3d 1998) (reciting elements). Berg’s actions were not “akin to a consumer’s
  actions” because she did not seek out a loan servicer and her receipt of an incidental service does
  not convert her into a “consumer” with respect to that service. See Mem. at 20 (collecting cases
  applying analogous Texas). Moreover, the relief she requests would not “serve the interests of
  consumers” because Berg and putative members of the Illinois subclass—i.e., the purported
  beneficiaries of Berg’s claims—are not “consumers.” Id. at 15. While some courts allow ICFA
  claims by non-consumers in contravention of Steinberg, those courts still require that the
  “requested relief” “serve the interests of consumers,” which is not the case here.




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         In response to Defendants’ argument that Berg fails to properly allege Defendants intended
  for her to rely on their alleged deceptive acts (Mem. at 15), Berg argues that she is not required to
  allege intent to deceive (Opp. at 19). As Berg fails to respond to Defendants’ actual argument, she
  concedes this point. See Giuliani, 558 F. Supp. 3d at 1244. Berg also argues she need not have
  seen the allegedly deceptive communication (Opp. at 19), but her argument is foreclosed by
  binding Illinois Supreme Court precedent (Mem. at 15 (collecting cases)). Moreover, two of the
  cases she relies on pertain to alleged omissions (Opp. at 19 (citing Perdue v. Hy-Vee, Inc., 455 F.
  Supp. 3d 749, 770–71 (C.D. Ill. 2020) & Gordon v. Chipotle Mexican Grill, Inc., 344 F. Supp. 3d
  1231, 1250–51 (D. Colo. 2018))). Here, Berg alleges Lakeview explicitly promised to protect her
  PII from unauthorized disclosure and promised its security was adequate. Compl. ¶¶ 21, 107, 602.
  Thus, she alleges affirmative false statements, not omissions. The third case she relies on says
  nothing about whether plaintiff must see the allegedly deceptive communication. Opp. at 19 (citing
  Blankenship v. Pushpin Holdings, LLC, 2015 WL 5895416, at *8 (N.D. Ill. Oct. 6, 2015)).
         In response to Defendants’ argument that Berg does not allege “actual damage” that was
  “proximately caused” by Defendants, she argues she “paid $57 toward an unauthorized charge”
  because “credit reporting agencies informed her that her credit score would significantly decrease
  unless she made a partial payment.” Opp. at 20. Thus, she admits her decision was proximately
  caused by the flawed advice of “credit reporting agencies,” which is an intervening force that
  breaks the chain of causation. See Martin v. Heinold Commodities, Inc., 643 N.E.2d 734, 751 (Ill.
  1994). Berg also argues that “time she spent dealing with fraudulent activity [] constitutes actual
  damage” and claims her conclusion is supported by Perdue v. Hy-Vee, Inc., 455 F. Supp. 3d 749,
  761 (C.D. Ill. 2020) and Dieffenbach v. Barnes & Noble, Inc., 887 F.3d 826, 829 (7th Cir. 2018).
  Opp. at 20. However, in the referenced passages, Purdue was addressing negligence claims and
  Dieffenbach was addressing California law. Under the ICFA, “actual damages must arise from
  ‘purely economic injuries.’” Cooney v. Chi. Public Sch., 943 N.E.2d 23, 31 (Ill. App. 3d 2010).
         Lastly, in response to Defendants’ argument that Berg is not entitled to injunctive relief,
  she incorporates Plaintiffs’ response to a similar argument concerning Plaintiffs’ CCPA claims
  (Opp. at 17 n.10), so Defendants incorporate their response (supra at 5).
         H.      Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
         Plaintiffs’ FDUTPA claims should be dismissed because they fail to allege a deceptive act
  or unfair practice and fail to allege actual damages. See Mem. at 16. Plaintiffs respond that they



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   allege “unfair, unconscionable, and unlawful acts and practices” (Opp. at 20 (citing Compl. ¶
   697)), but these threadbare allegations do not satisfy Rule 8(a) (Mem at 16).
          Plaintiffs next argue that “they overpaid for mortgage services[.]” Opp. at 20 (citing
   Compl. ¶ 543). However, Plaintiffs’ claim that they pay Defendants for mortgage servicing is not
   remotely plausible. Loan servicing is an incidental service that is provided free of charge. See
   Mem. at 20 (collecting cases applying analogous Texas law); Blaine v. N. Brevard Cnty. Hosp.
   Dist., 317 F. Supp. 3d 1157, 1159 (M.D. Fla. 2018) (explaining that in assessing plausibility,
   “courts draw on their ‘judicial experience and common sense’” and may take judicial notice of
   facts that cannot reasonably be disputed). Moreover, “actual damages” correspond to the
   “‘difference in the market value of the product or service in the condition in which it was delivered
   and its market value in the condition in which it should have been delivered’” (Mem at 16), but
   Plaintiffs do not allege that Defendants’ mortgage servicing was deficient.
          I.      Maryland Consumer Protection Act (“MCPA”)
          In response to the argument that he failed to comply with Rule 9(b), McMahon cites a
   District of Maryland case holding that “Rule 9(b) is relaxed for claims of omission.” Opp. at 21.
   That is not the law in this Circuit. See Instituto De Prevision Militar v. Merrill Lynch, 546 F.3d
   1340, 1352 (11th Cir. 2008) (“Under [Rule] 9(b), allegations about the material misrepresentations
   or omissions ‘must state with particularity the circumstances constituting fraud.’”).
          McMahon also argues “Defendants’ continued failure to take the necessary steps to protect
   sensitive PII, and their concealment of this material information” are unfair or deceptive practices
   (Opp. at 21), but this argument is based on utterly conclusory allegations amounting to the
   assertion that the fact of a data breach implies inadequate data security. Moreover, McMahon does
   not plausibly allege that Defendants’ business practice is to have inadequate security, and a data
   security incident coupled with conclusory allegations that security remains inadequate do not show
   a “practice of the trade.” Mem. at 17, Lastly, McMahon claims he suffered an identifiable loss
   because his PII is on the dark web, he engaged in mitigation efforts, the value of his PII was
   diminished, and he overpaid for loan servicing. Opp. at 21. However, McMahon does not allege
   any “amount [he] spent or lost as a result of his [] reliance on the sellers’ misrepresentation.” See
   Lloyd v. Gen. Motors Corp., 916 A.2d 257, 277 (Md. 2007) (emphasis added). Indeed, Defendants
   did not sell McMahon anything and his allegation that he paid for loan servicing is implausible.
   Supra at 3.



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          J.      Missouri Merchandising Practices Act (“MMPA”)
          Blando’s MMPA claims fail because: (1) they are not plead with particularity; (2) he has
   no ascertainable pecuniary loss; and (3) the value of his mortgage servicing did not decrease. Mem.
   at 18. Blando’s response to the first argument fails for the reasons stated supra at 4 & n.3. In
   response to the second argument, Blando claims “[his] PII was tendered to Defendants in exchange
   for [mortgage servicing]” (Opp. at 22), but that claim is implausible for the reasons stated supra
   at 3, and the Court need not accept this obvious falsehood. See Blaine, 317 F. Supp. 3d at 1159.
   Moreover, even if true, this would not be an “ascertainable pecuniary loss.”4 Mem. at 18. Lastly,
   he does not respond to the third argument, so he concedes. See Giuliani, 558 F. Supp. 3d at 1244.
          K.      Indiana Deceptive Consumer Sales Act (“IDCSA”)
          Farley alleges an incurable deceptive act (Opp. at 23), so she must comply with Rule 9(b)
   and plausibly allege “intent to defraud or mislead” (Mem. at 19-20). She does not dispute this
   pleading requirement (Opp. at 23) and her conclusory allegation that Defendants engaged in
   “unfair and deceptive practices… with intent to defraud or mislead” does not satisfy Rule 9(b).5
          L.      Texas Deceptive Trade Practices – Consumer Protection Act (“TDTPA”)
          Plaintiffs’ TDTPA claims fail because they do not satisfy Rule 9(b) and Plaintiffs are not
   “consumers.” Mem. at 20. Plaintiffs’ response to the first argument fails for the reasons stated
   supra at 4 & n.3. In response to the second argument, Plaintiffs claim they “sought and acquired
   Defendants’ loan servicing services in exchange for their PII” (Opp. at 24 (citing Compl. ¶¶ 740-
   56)), but the cited paragraphs do not support this claim. Moreover, Plaintiffs fail to address the
   numerous cases holding that loan servicing is an incidental service, the receipt of which does not
   make one a “consumer” under the TDTPA. Mem. at 20 (collecting cases).
          M.      Ohio Residential Mortgage Loan Act (“RMLA”)
          Kraus’ Section 1322.40(C) claim fails because she does not comply with Rule 9(b) and her
   Section 1322.45(A) claim fails because it is unsupported by factual allegations. Mem. at 21. Kraus
   does not dispute that her Section 1322.40(C) claim is subject to Rule 9(b), but contends that merely

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     Blando cites Jackson v. Charlie’s Chevrolet, Inc., 664 S.W.2d 675, 677 (Mo. Ct. App. 1984) for
   the proposition that a pecuniary loss is unnecessary, but Jackson was discussing Chapter 301 of
   the Missouri Code, which deals with “Registration and Licensing of Motor Vehicles.”
   5
     Farley cites Bray v. Gamestop Corp., 2018 WL 11226516, at *6 (D. Del. Mar. 16, 2018) as
   holding that “allegations that defendant misled consumers ‘that it would adequately protect [PII]
   and failed to inform customers that it did not maintain adequate data protection systems’ [are]
   sufficient” (Opp. at 23), but the allegations in Bray were more detailed and plausible.


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   alleging “that Defendants failed to adequately protect the PII and made misleading claims
   regarding their data security practices and protocols” is enough (Opp. at 24), but this threadbare
   allegation does not satisfy Rule 9(b). Moreover, her allegations cannot support a Section
   1322.45(A) claim because that section has nothing to do with PII or data security.
          N.      Pennsylvania Unfair Trade Practices and Consumer Protection Law
                  (“PUTPCPL”)
          In response to Defendants’ argument that Kraus did not purchase or lease loan servicing,
   he repeats the specious claim that he purchased loan servicing from Defendants. Id. The Court
   need not accept this implausible allegation. Supra at 3; Blaine, 317 F. Supp. 3d at 1159.
          In response to Defendants’ argument that Kraus does not allege an “ascertainable loss of
   money or property,” he argues the value of his PII was diminished, unauthorized charges were
   made on his credit card, and his computer was hacked. Opp. at 24-25. However, the alleged
   diminution in value of Kraus’ PII does not constitute an “ascertainable loss of money or property.”
   See Kaymark v. Bank of Am., N.A., 783 F.3d 168, 180 (3d Cir. 2015) (affirming district court’s
   rejection of “speculative” diminution in value theory). There is also no basis for inferring the
   alleged credit card charges are connected to the Incident because no credit card information was
   accessed, and Kraus does not allege an out-of-pocket loss due to the alleged charges. See Compl.
   ¶ 3 (describing PII that was allegedly accessed); In re Rutter’s Inc. Data Sec. Breach Litig., 511
   F. Supp. 3d 514, 541 (M.D. Pa. 2021) (rejecting claim that unauthorized credit card charges
   constitute an ascertainable loss where there was no out-of-pocket loss).6 Similarly, the information
   that was allegedly accessed would not enable criminals to hack Kraus’ computer, so it is
   implausible that there is a connection between the Incident and the alleged hack.
          In response to Defendants’ argument that Kraus does not plausibly allege justifiable
   reliance, he argues it is sufficient to “alleg[e] that he ‘relied on Defendants to keep [his] PII
   confidential and securely maintained’ and would not have handed over his PII had Defendants
   disclosed that their data security systems were vulnerable to attack.” Opp. at 25. However,
   “[Kraus] must show that he justifiably relied on the defendant’s wrongful conduct or
   representation….” Yocca v. Pittsburgh Steelers Sports, Inc., 578 Pa. 479, 438 (2004). Thus, the
   issue is not whether Kraus relied on Defendants; it’s whether he relied on their alleged “wrongful

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     Kraus tries to distinguish Rutter’s by arguing the court held that “alleged overdraft fees and lost
   wages satisfied this element of the claim.” Opp. at 25. However, Kraus does not allege overdraft
   fees or lost wages and Rutter’s makes clear that there must be an out-of-pocket loss.


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   conduct or representation,” so Kraus’ argument is irrelevant. Moreover, his conclusory allegation
   that “‘[he] did rely on Defendants’ misrepresentations and omissions relating to their data privacy
   and security’” does not suffice. Mem. at 22.
          O.      Tennessee Consumer Protection Act of 1977 (“TCPA”)
          In response to Defendants’ argument that TCPA does not allow class actions, Burnett
   argues it is premature to determine whether TCPA permits class actions (Opp. at 25), but there is
   no basis for deferring the interpretation of an unambiguous statute. Moreover, Burnett’s reliance
   on In re Chrysler-Dodge-Jeep is misplaced because there, multiple States’ consumer protection
   acts were in play, some of which permitted class actions and some of which did not. In re Chrysler-
   Dodge-Jeep EcoDiesel Mktg., Sales Pracs. & Prods. Liab. Litig., 295 F. Supp. 3d 927, 1016 (N.D.
   Cal. 2018). Here, the issue is whether the TCPA permits class actions and it clearly does not.
          Burnett also argues the TCPA’s class action prohibition is procedural rather than
   substantive (Opp. at 25-26), but this argument disregards the text of the TCPA, which clearly
   reflects the legislature’s intent to only permit the State to bring actions on behalf of consumers
   generally. The TCPA provides that “[a]ny person who suffers an ascertainable loss… may bring
   an action individually to recover actual damages” and that “[n]o class action lawsuit may be
   brought….” See Tenn. Code Ann. § 47-18-109(a)(1), (g) (emphasis added). As the Tennessee
   Supreme Court explained, the TCPA provides “a person may file an action, individually” but only
   permits the State to bring an action “akin to a class action” for the “protection of classes of
   consumers[.]” See Walker v. Sunrise Pontiac–GMC Truck, Inc., 249 S.W.3d 301, 308–11 (Tenn.
   2008) (emphasis in original). Thus, the TCPA creates substantive rights, but, in the case of private
   individuals, the right is limited to individual actions. 7 If the Court were to permit Burnett to


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     Consistent with Walker, courts have rejected Plaintiffs’ argument that the limitations in the TCPA
   are procedural. See, e.g., Bearden v. Honeywell Int’l Inc., 2010 WL 3239285, at *10 (M.D. Tenn.
   Aug. 16, 2010) (“[T]he class-action limitation contained in the TCPA is so intertwined with that
   statute’s rights and remedies that it functions to define the scope of the substantive rights” whereas
   Shady Grove involved “a separate procedural rule”); id. (“[A]s explained by the Tennessee
   Supreme Court, the class-action limitation reflects a policy that the proper remedy for a violation
   affecting a class of consumers is prosecution by the [State]—not a private class action.”); Tait v.
   BSH Home Appliances Corp., 2011 WL 1832941, at *7–9 (C.D. Cal. May 12, 2011) (following
   Bearden); Ham v. Swift Transportation Co., Inc., 2011 WL 13350069, at *3 (W.D. Tenn. Oct. 12,
   2011) (“[T]he Tennessee Supreme Court in Walker has construed the TCPA as authorizing only
   claims brought individually… and does not permit class actions…. [N]either Fed. R. Civ. P. 23
   nor the United States Supreme Court decision in Shady Grove alters the Walker holding.”).


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   maintain a TCPA class action, the effect would be to “enlarge or modify [a] substantive right” in
   violation of the Rules Enabling Act. See 28 U.S.C. § 2072(b). This is confirmed by Plaintiffs’ own
   authority. See Lisk v. Lumber One Wood Preserving, LLC, 792 F.3d 1331, 1335 (11th Cir. 2015)
   (explaining that disregarding class action prohibitions violates the Rules Enabling Act if doing so
   would “‘abridge, enlarge or modify any substantive right’”) (quoting 28 U.S.C. § 2072(b)).
          In response to Defendants’ argument that Burnett fails to allege “an ascertainable loss of
   money or property,” Burnett argues the diminished value of her PII qualifies. Opp. at 26. However,
   she fails to explain how her PII is less valuable to her or how the speculative value she places on
   her PII can be measured. See Tucker v. Sierra Builders, 180 S.W.3d 109, 115 (Tenn. Ct. App.
   2005) (explaining that the TCPA requires a “[s]ubstantial injury [which] usually involves
   monetary injury or unwarranted health and safety risks” and “speculative” injuries do not suffice).
          P.      New York General Business Law
          Sevak claims he alleges conduct occurring in New York because his conduct occurred there
   (Opp. at 26), but it is the location of the allegedly deceptive conduct that matters, and Defendants’
   allegedly deceptive acts occurred in Florida. Compl. ¶ 817; Mem. at 25.
          Sevak also argues he alleged a deceptive act because Defendants “stat[ed] they would
   adequately protect… his PII” (Opp. at 26-27), but Lakeview’s Privacy Policy contains no such
   guarantee; to the contrary, it makes clear there is no guarantee of security and Sevak accepted the
   risk of “unauthorized access.” Mem. at 25-26 (quoting Dkt. 47-2). Thus, Sevak cannot credibly
   claim the Privacy Policy was deceptive.8
          Sevak claims an actual injury because he spent time mitigating harm (Opp. at 27), but “[he]
   must allege that, on account of a materially misleading practice, [he] purchased a product and did
   not receive the full value of [his] purchase.” See Orlander v. Staples, Inc., 802 F. 3d 289, 302 (2nd
   Cir. 2015); Mem. at 26. Sevak also cites several cases for the proposition that “time spent
   mitigating harm” suffices (Opp. at 27), but most of the cases do not support this proposition and
   his reliance on a California federal case recognizing lost value of PII as an injury is of no avail
   because the Ninth Circuit subsequently held that “a plaintiff must show that she did not receive
   the full value of her purchase, by alleging (for instance) that she paid a price premium due to the


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    Sevak also failed to allege that he read the Privacy Policy, so he cannot have been misled by it.
   He tries to remedy this deficiency by claiming in the Opposition that he read the Privacy Policy
   (Opp. at 26), but the Court should disregard this claim since it is not supported by the Complaint.


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   deception.” See Naimi v. Starbucks Corp., 798 F. App’x 67, 70 (9th Cir. 2019). Further, there must
   be a “connection between the misrepresentation and any harm from, or failure of, the product.”
   See Small v. Lorillard Tobacco Co., 720 N.E.2d 892, 898 (N.Y. 1999) (emphasis added). Here,
   the product is loan servicing, which is not alleged to be defective.
          Sevak responds to Defendants’ argument that he did not allege he was misled by claiming
   he “was misled in New York” (Opp. at 26 (citing Compl. ¶ 303)), but the cited paragraph does not
   allege Sevak was misled.
          Q.      Declaratory Judgment And Injunctive Relief
          Defendants demonstrated that Count XXII fails because the Declaratory Judgment Act
   does not create an independent cause of action and, even if it did, Plaintiffs’ claims are duplicative.
   Mem. at 26-27. Plaintiffs’ Opposition fails to show that the Declaratory Judgment Act creates an
   independent cause of action and fails to rebut Defendants’ argument that Plaintiffs’ Declaratory
   Judgment Act claims are duplicative, so dismissal is appropriate.
          R.      Other Claims Abandoned or Conceded in the Opposition
          Plaintiffs abandon Counts XVII, XIX, and XXI (Opp. at 1 n.1) and fail to respond to
   Defendants’ argument that Counts VI, IX, XI–XVI, XVIII, and XX fail as to Bayview, so they
   concede. Mem. at 10, 14, 16, 18-25; Giuliani, 558 F. Supp. 3d at 1244. Thus, Counts XIX, XVII,
   and XXI should be dismissed in their entirety and, in addition to the reasons set forth above, Counts
   VI, IX, XI-XVI, XVIII, and XX dismissed as to Bayview.



   Dated: November 7, 2022.                            s/ Julie Singer Brady
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                                    CERTIFICATE OF SERVICE

          I hereby certify that, on November 7, 2022, I electronically filed the foregoing document

   with the Clerk of the Court by using the Florida E-Filing Portal, which will send a Notice of

   Electronic Filing to all counsel of record.

                                                             s/ Julie Singer Brady
                                                             Julie Singer Brady




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